                               NO. 07-12-0198-CR
                               NO. 07-12-0199-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL C
                                       
                                AUGUST 20, 2012
                                       
                        ______________________________
                                       
                                       
                           JEREMY HOUSTON, APPELLANT
                                       
                                      V.
                                       
                         THE STATE OF TEXAS, APPELLEE
                                       
                       _________________________________
                                       
               FROM THE 331[ST] DISTRICT COURT OF TRAVIS COUNTY;
                                       
    NOS. BK12118 PG4330 &amp; BK12118 PG18238; HONORABLE DAVID CRAIN, JUDGE
                                       
                        _______________________________
Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
                             ABATEMENT AND REMAND
	Following a plea of not guilty, Appellant, Jeremy Houston, was convicted by a jury of burglary of a habitation, enhanced, and sentenced to thirty years confinement in cause number BK12118 PG4330.  In cause number BK12118 PG18238, Appellant also entered a plea of not guilty to a charge of attempted burglary of a habitation, enhanced, and was sentenced to twenty years confinement.  The sentences were ordered to run concurrently.  The clerk's record was filed on May 25, 2012, and the reporter's record was initially due on June 8, 2012.  When the reporter's record was not filed, by letter dated June 19, 2012, this Court notified the deputy court reporter of the deficiency and requested that she advise on the status of the record.  On July 9, 2012, the reporter requested an extension of time and was granted until August 9, 2012, to file the record.  Neither a further extension of time nor the reporter's record has been filed.  Consequently, we now abate this appeal to the trial court for further proceedings.
The court reporter is responsible for preparing, certifying and timely filing the reporter's record.  Tex. R. App. P. 35.3(b).  Additionally, trial and appellate courts are jointly responsible for ensuring that the appellate record is timely filed.  Tex. R. App. P. 35.3(c).  
Upon remand, the trial court shall utilize whatever means necessary to determine the reasons for the delay in the filing of the reporter's record and take such action as is necessary to ensure the filing of same on or before September 5, 2012.  If the reporter's record is not filed by that date, the trial court shall enter findings of fact and conclusions of law and shall cause the same and any necessary orders to be included in a supplemental clerk's record to be filed with this Court on or before September 26, 2012.
	It is so ordered.
							Per Curiam
Do not publish.
